                 Case
  A0 247 (02/08) Order   4:98-cr-00106-LGW-CLR
                       Regarding Motion for Sentence Reduction   Document 745 Filed 05/29/08 Page 1 of 1

                                      UNITED STATES DISTRICT COURT
                                                                      forthe
                                                            Southern District of Georgia
                                                                                                 2Q08 fl' 29 di           7
                   United States of America                             )

                      Rafael Dewitt Bowens                              ) Case No CR498 00106-001
                                                                        ) USMNo: 09887-021
Date of Previous Judgment: January 13, 1999                             ) William 0. Cox
(Use Date of Last Amended Judgment if Applicable)                       ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of Jthe defendant Lithe Director of the Bureau of Prisons Lithe court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        El DENIED.             j GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                             the last judgment issued) of
                                                        162         months is reduced to          135 months
1. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     31                                              Amended Offense Level:     29
Criminal History Category: III                                              Criminal History Category 111
Previous Guideline Range:   135                 to 168 months               Amended Guideline Range 108 to 135 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
   The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
Li Other (explain):



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated January 13, 1999,                       shall remain in effect.
IT IS SO ORDERED.

Order Date         May 29, 2008
                                                                                                            ature

                                                                            B. Avant Edenfield
                                                                            United States District Judge
Effective Date:                                                             For the Southern District of Georgia
                    (if different from order date)                                           l'rinted name and title
